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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

___________________________________
                                    )
LASHAWN JONES, ET AL,               )
Plaintiffs; and                     )
UNITED STATES OF AMERICA            )
Plaintiffs in Intervention          )
                                    )
v.                                  )              Civil Action No. 2:12-cv-00859
                                    )              Section I, Division 5
MARLIN N. GUSMAN, ET AL,            )              Judge Lance M. Africk
Defendants                          )              Magistrate Judge Michael B. North
___________________________________ )
                                    )
MARLIN N. GUSMAN,                   )
Third-Party Plaintiff               )
                                    )
v.                                  )
                                    )
THE CITY OF NEW ORLEANS,            )
Third-Party Defendant               )
____________________________________)


                                           ORDER

       Before the Court is the United States’ and Plaintiffs’ Unopposed Motion for Additional

Time to File a Sur-Reply.

       IT IS HEREBY ORDERED that all parties filing a sur-reply shall respond to the City’s

reply, ECF No. 1312, no later than September 9, 2020.



                                    24th day of ________________,
       New Orleans, Louisiana, this _____           August        2020.




                                           ___________________________________
                                           THE HONORABLE MICHAEL B. NORTH
                                           UNITED STATES MAGISTRATE JUDGE

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